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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 527                      Moonlight_Store                        alisahalaniuk@gmail.com
 644                      ada-eb                                 ph@jebolist.com
 720                      day4sale                               day4sale777@gmail.com
 951                      o-7399                                 end@niahode.com
 976                      protector-2012                         protector2012@126.com
 980                      qinghgu                                qinghguo2016@126.com
 1062                     taoyoumehgfd                           taozhang162@gmail.com
 1096                     veromoda-es                            sk@jebolist.com
 1104                     wangwangshuai1992                      is@jebolist.com
 1170                     supersale                              15800394613@163.com
 1171                     fashion_store                          fashionworld999@hotmail.com
 1176                     home_garden                            homeandgarden123@hotmail.com
 1177                     fantastic_tune                         fantastic_tune@hotmail.com
 1178                     charming_family                        charming_family789@hotmail.com
 1179                     easy_lucky                             easyluck8899@hotmail.com
 1184                     onlinestoreinternational               wishget1990@163.com
 1185                     hengsonginternational                  newlyone58@163.com
 1187                     hi5wholesale                           hi5wholesale@163.com
 1188                     outdooronsale365                       outdooronsale365@163.com
 1189                     wedo_bestdeal                          wedo_bestdeal@yeah.net
 1194                     Bestclothes                            809353695@qq.com
 1213                     360degreesupplychain                   565258443@qq.com
 1216                     shenzhenyihosintechnologycoltd         rjl_8888@163.com
 1237                     Cheerwing                              ebaycn.sales@gmail.com
 1248                     coolgirlclothingcolmt                  waldo.craik@yahoo.com
 1264                     上海贝斗星商贸有限公司                            eveline_kellogg@aol.com
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Defendant           Merchant Name                         Email
1266                yiwujinouelectroniccommercecoltd      15067583060@163.com
1269                lightshineequipmentcoltd              happyman_007@163.com
1278                liveyourlifehomegardencoltd           peggykeats01@hotmail.com
1287                Demonstore                            991082765@qq.com
1292                广州过客电子商务有限公司                          milk21cn@126.com
1293                Rainbowhouse                          732486012@qq.com
1312                hair_styletradingcompany              3094703617@qq.com
1314                深圳市美赞通贸易有限公司                          3093655083@qq.com
1375                Healthysports                         jasondong1486@hotmail.com
1377                Superstarforever                      kepuwang@yeah.net
1379                Citylifeshop                          citylifeshop@gmail.com
1445                fzlovewh2016                          fzlovewish2016@hotmail.com
1459                vrshopping                            onlineshoppingstreet@outlook.com
1461                zhuling123456                         zhuling123456@outlook.com
1471                socialshopping                        fashionshoppingmall@hotmail.com
1497                forestjack                            m18321588771@163.com
1520                simple_style                          simplestyleshop@hotmail.com
1524                hongqinfang                           hongqinfang@outlook.com
1531                pengjie0907                           pengjie0907@outlook.com
1533                yuhualove                             15638211162@163.com
1550                wangyuanyuan24                        wangyuanyuan24@outlook.com
1556                guojian2304                           guojian2304@outlook.com
1567                zhangdongmei43                        zhangdongmei43@outlook.com
1568                donotallowtimetostayontheroadoflife   avenein2016@outlook.com
1573                wudianhua39                           wudianhua39@outlook.com
1574                yezhiyinqv                            yezhiyinqv@outlook.com
1575                ludianmiao99                          ludianmiao99@outlook.com
1578                luochon2017nanzhuang                  cookiesdove@outlook.com
1579                miracleswillhappeninabox              sunmoonll2017@outlook.com
1583                yonxiangfuzhuang2017                  dreaminll@163.com
1618                try_everything                        shoppingmore@outlook.com
1624                2538319843qqcom                       1476246718@qq.com
1629                fantasticsky                          1032217993@qq.com
1633                fangshuichenshop                      huskar20170223@163.com
1650                weiting88wt                           weiting88WT@outlook.com
1668                zmmzhum                               zmmzhum@163.com
1685                youthforever                          foreveryouth18@hotmail.com
1730                eiovensheng                           eiovensheng@163.com
1740                aqwxhyg                               aqwxhyg@outlook.com
1741                ikeamall                              ikeamall@hotmail.com
1772                sellerno2                             3484482279@qq.com
1801                wanglala12                            wanglala12@outlook.com
1821                aodfma888                             2775415775@qq.com
1827                popularshirt                          lalawish2017@outlook.com
1856                starryfurniture                       dahaha887@outlook.com
1903                guoyanhong                            wln1476246718@163.com
1976                viva_la_vida                          vivalavida233@outlook.com


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Dated: August 14, 2019
                                                                Respectfully submitted,

                                                                   By:    /s/ Rishi Nair

                                                                              Rishi Nair
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